Case 2:24-cv-00421-DBB-JCB   Document 285-2   Filed 05/12/25   PageID.1451   Page
                                   1 of 14
                                                                       B
Case 2:24-cv-00421-DBB-JCB   Document 285-2   Filed 05/12/25   PageID.1452   Page
                                   2 of 14
Case 2:24-cv-00421-DBB-JCB   Document 285-2   Filed 05/12/25   PageID.1453   Page
                                   3 of 14
Case 2:24-cv-00421-DBB-JCB   Document 285-2   Filed 05/12/25   PageID.1454   Page
                                   4 of 14
Case 2:24-cv-00421-DBB-JCB   Document 285-2   Filed 05/12/25   PageID.1455   Page
                                   5 of 14
Case 2:24-cv-00421-DBB-JCB   Document 285-2   Filed 05/12/25   PageID.1456   Page
                                   6 of 14
Case 2:24-cv-00421-DBB-JCB   Document 285-2   Filed 05/12/25   PageID.1457   Page
                                   7 of 14
Case 2:24-cv-00421-DBB-JCB   Document 285-2   Filed 05/12/25   PageID.1458   Page
                                   8 of 14
Case 2:24-cv-00421-DBB-JCB   Document 285-2   Filed 05/12/25   PageID.1459   Page
                                   9 of 14
Case 2:24-cv-00421-DBB-JCB   Document 285-2   Filed 05/12/25   PageID.1460   Page
                                   10 of 14
Case 2:24-cv-00421-DBB-JCB   Document 285-2   Filed 05/12/25   PageID.1461   Page
                                   11 of 14
Case 2:24-cv-00421-DBB-JCB   Document 285-2   Filed 05/12/25   PageID.1462   Page
                                   12 of 14
Case 2:24-cv-00421-DBB-JCB   Document 285-2   Filed 05/12/25   PageID.1463   Page
                                   13 of 14
Case 2:24-cv-00421-DBB-JCB   Document 285-2   Filed 05/12/25   PageID.1464   Page
                                   14 of 14
